FILE

 

In the matter of the search of a USPS

United States Priority Mail Parcel identified by JUL 19 2019
Tracking No. 9505 5067 1311 9193 1650 94 Case No. 2:19-mj- 2(6 .
addressed to: Clerk, U. S. District Court
A Schwartz Eastern District of Tennessee
1702 Robalee Street At Greeneville

Kingsport, TN 37665

AFFIDAVIT
I, Robert Wagner, being duly sworn, depose and say as follows:
Background and Investigative Information

1 Iam aU.S. Postal Inspector assigned to investigate crimes related to the mail,
including the use of the U.S. Mail to unlawfully transport contraband materials, and I am
currently assigned to the Knoxville Domicile of the U.S. Postal Inspection Service’s Charlotte
Division. I am submitting this affidavit in support of an application for a search warrant seeking
authority to search for evidence related to the sale, possession, distribution, and/or use of
controlled substances in violation of Title 21 United States Code, Sections 841(a)(1) (related to
the unlawful manufacture, distribution, and possession with intent to distribute controlled
substances), 843(b) (related to the unlawful use of communication facilities for certain controlled
substance offenses), and 846 (related to conspiracy to commit certain controlled substance
offenses) as well as the use or attempted use of the United States Mail to distribute controlled
substances.

2. I am an “Investigative or Law Enforcement Officer” within the meaning of Title
18, United States Code, Section 3061; that is, I am an officer of the United States who is
empowered by law to conduct investigations of, and to make arrests for, offenses enumerated in
Title 18, United States Code, Section 3061.

3. I have participated both as a case agent and co-case agent with respect to

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 1lof9 PagelD #: 2
controlled deliveries of contraband and the execution of search warrants with respect to drugs
and scheduled controlled substances as well as investigations into drug-trafficking cases in
Tennessee, Washington State, and the Territory of Guam. I have received formal, informal and
on the job training from U.S. Postal Inspectors, Assistant United States Attorneys, the Drug
Enforcement Administration, and other law enforcement agents who have done extensive work
regarding the investigation of sales, distribution, and manufacture of controlled substances, as
well as investigations pertaining to the proceeds from the unlawful sales of controlled
substances.

4, I also have conducted investigations of the mailing of controlled substances into
the states of Tennessee, Washington and the Territory of Guam.

5. I know from my training, knowledge, and experience that the importers and
distributors of controlled substances often utilize the U.S. Postal Service to facilitate the
distribution of controlled substances. Such mail vill come from foreign or domestic places of
origin and typically will be sent by either Express Mail or Priority Mail with a USPS tracking
number, or First-Class Mail.

6. I know from my personal experience and participation in investigations of
controlled substances sent via the mail, that witnesses, cooperating individuals, and informants
have discussed and explained to law enforcement why the U.S. Mail system is used to facilitate
the delivery of controlled substances. J have also read official reports from other law
enforcement officers detailing similar events.

Fi [ have participated in large package interdiction operations as a Postal Inspector
in Washington State, Tennessee, and Guam.

8. The information contained within this affidavit is based upon my personal

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 2o0f9 PagelD #: 3
observations, training, and on information related to me by other law enforcement officers and
investigators as set forth more fully herein. Because the purpose of this affidavit is to set forth
probable cause, I have not set forth each and every fact known to me in connection with this
investigation.

9. Based on my training, experience, and consultations with other law enforcement
officers experienced in drug investigations, I know that certain indicators exist when persons are
using the U.S. Mail system to send prohibited controlled substances from one location to
another. Indicators for packages that contain controlled substances and/or the proceeds from
controlled substances include, but are not limited to, the following:

a. It is common for senders of controlled substances, and/or the proceeds from
the sales of these controlled substances, to use Express and Priority Mail because the
substances or proceeds arrive faster and on a predictable date, thereby allowing the
senders to keep track of the shipment or proceeds of controlled substances.

b. When the senders mail controlled substances from a particular area/state, the
proceeds from the sale of these controlled substances may be returned to the shipper.

There are known source states for controlled substances mailed to Tennessee (e.g.,

California, Colorado, Texas, Florida, and Washington), where controlled substances are

typically mailed from other major metropolitan areas. Foreign countries have also shown

to be sources on rare occasions for different substances.

c. A sender may sometimes mail the package containing controlled substances
from an area different from the return address on the package due to one or more of the
following reasons: 1) the return address is fictitious, incomplete, or associated to a vacant

lot or house; and 2) the shipper is attempting to conceal the actual location that the

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 3of9 PagelD#: 4
package was being mailed from in order to avoid detection. Additionally, there are
frequently misspellings and mistakes on the label indicative of someone filling out the
address label who is not a resident of the return address (i.e., a “runner” or fictitious
address).

d. These packages in many instances contain a fictitious return address; no return
address; an actual address associated with a vacant lot or house; or the return address that
is the same as the addressee address. These packages are also sometimes addressed to or
from a Commercial Mail Receiving Agency (e.g., a UPS store or Mailboxes Etc. store).
A sender may also use a legitimate business for the return address. This is done in order
to conceal from law enforcement the true identity of the person(s) shipping and/or
receiving the controlled substances.

e. Express Mail packages containing drugs usually contain a “Signature
Waiver,” which allows the package to be left at a location without requiring anyone to
sign for the package. Person-to-person Express Mail packages rarely contain a signature
waiver because this level of service is usually reserved for very important items that the
sender would want to ensure someone was present for at the time of delivery.

f. I know from my training, experience, and discussions with other law
enforcement officers that the following controlled substances are often found during
package interdiction operations: marihuana, methamphetamines, cocaine, LSD,
psilocybin mushrooms, heroin, opium, MDMA, and the proceeds from the sales of these
controlled substances.

g. I know from training, experience, and discussions with other law enforcement

officers that these packages sometimes contain information and paperwork related to the

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 4of9 PagelID#:5
sales and distribution of controlled substances. This paperwork can include, but is not
limited to, information on the uses and effects of the various controlled substances; the
prices for the controlled substances; the quality of the controlled substances; information
on the actual senders; and information and instructions for ordering future controlled
substances. These packages also sometimes contain smaller packages that are pre- -
addressed for mailing to secondary addresses after they have met their initial destination.
Probable Cause
10. This affidavit is submitted in support of a request for a search warrant to search a U.S.

Priority Mail Parcel bearing label #9505 5067 1311 9193 1650 94 and addressed as follows:

FROM: TO:

Son 710 Inc A Schwartz

3105 Roosevelt St 1702 Robalee Street
Placerville CA 95667 Kingsport, TN 37665

The item to be searched is more fully described on Attachment A and is incorporated herein. Based
on the following facts and my knowledge and training, I believe the 1702 Robalee Street parcel
will contain some or all of the items listed on Attachment B, which are incorporated herein.

11. On July 15, 2019, I was contacted by Sacramento, California Postal Inspector
Bauwens who advised the following regarding the Robalee Street parcel. US Postal Inspector
Bauwens advised that Antonio Eduardo Ruiz of Placerville, California, was the subject of an
ongoing narcotics trafficking investigation in Northern California. RUIZ was being investigated
for the sales of marijuana and methamphetamine. During the investigation, US Postal Inspector
Bauwens observed RUIZ on multiple US Post Office surveillance videos mailing numerous
parcels containing fictitious return names and addresses to multiple different states, including the
State of Tennessee. During the investigation, U.S. Postal Inspector Bauwens observed that

RUIZ mailed multiple parcels to different addresses in Kingsport, TN, including to 1702 Robalee

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page5of9 PagelD #: 6
Street in Kingsport, TN. On July 14, 2019, US Postal Inspector Bauwens identified the Robalee
Street parcel via a check of USPS records and databases. US Postal Inspector Bauwens observed

| the Robalee Street parcel was mailed from the Self Service Kiosk (SSK) located at the El Dorado
Hills, California Post Office on July 12, 2019 at approximately 7:55 PM PST. Asa result of the
mailing, US Postal Inspector Bauwens later obtained surveillance images taken at the SSK
during the time of the mailing and confirmed the person on the surveillance images mailing the
parcel was RUIZ. On July 13, 2019, RUIZ was arrested in Northern California by members of
the Western El Dorado County Narcotics Enforcement Team. Pursuant to the search and arrest of
RUIZ, over five pounds of marijuana was seized, along with a large number of USPS packaging
supplies indicative of distribution of narcotics via the US Mail.

12. On July 16, 2019, I intercepted the Robalee Street parcel from the Kingsport post
office. A search of the law enforcement database CLEAR found the last name Schwartz
associated with 1702 Robalee Street. However, a search of the sender address in that database
revealed that Son 710 Inc. appeared fictitious. A further search of postal records showed this
was the third similarly sized parcel mailed from the Sacramento area to 1702 Robalee Street in
the last three weeks.

13. On July 17, 2019, at the Johnson City Main Post Office, I arranged to have the
1702 Robalee Street parcel placed in a lineup of other similarly sized and colored boxes to
permit an external examination of the parcel by a drug detection canine controlled by the
Johnson City Police Department Drug Detection Dog Unit (DDDU). K9 handler Jeff LeGault
advised me that his assigned DDDU K9, “Pico,” examined the parcel. K9 Pico positively alerted
to the presence of narcotics. I have reviewed a certificate issued by the North American Police

Work Dog Association (““NAPWDA”), Certificate 48712. That certificate shows that KP handler

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 6of9 PagelD #: 7
LeGault and Pico received accreditation on October 10, 2018, for, among other things,
“NARCOTICS DETECTION TEAM (MARIJUANA, COCAINE, HEROIN,
METHAMPHETAMINE).” I have also reviewed a testing sheet showing that on October 10,
2018, K9 handler LeGault and Pico passed the narcotics detection portion of their testing to
obtain their certification from NAPWDA. I know from my training and experience that properly
trained canine officers accurately and reliably alert for the presence of narcotics in this type of
controlled environment.

14. After K-9 Pico alerted on the 1702 Robalee Street parcel, I took the parcel into
protective custody and have maintained it in an unopened state in the evidence locker of the
United States Postal Inspection Service, where it has been maintained.

15. Based upon the information contained in this affidavit, I believe there is probable
cause to believe the 1702 Robalee Street parcel described in Attachment A contains evidence of a
crime, contraband, fruits of crime, or other items illegally possessed, or property designed for use,
intended for use, or used in committing a crime, including violations of Title 21, United States
Code, Sections 841(a)(1), 843(b), and 846 and the use or attempted use of the United States Mail
to distribute controlled substances and permission is sought to search for the same.

FURTHER AFFIANT SAYETH NAUGHT.

Applicant’s signature

Robert Wagner, United States Postal Inspector

Printed name and title

Sworn to before me and signed in my presence.

Date: UL [2 Lol4 oA (079m (ete

Judge 'S3ifnature
City an State: “Greeneville, Tennessee Hon. Clifton L. Corker
U.S. MAGISTRATE JUDGE

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 7 of9 PagelD #: 8
ATTACHMENT “A”

One (1) U.S. Priority Mail Parcel, containing tracking number 9505 5067 1311 9193
1650 94, measuring approximately 12” x 12” x 6” and weighing approximately 3.7 Pounds. The
package is from: Son 710 Inc., 3105 Roosevelt St, Placerville, CA 95667. To: A Schwartz,
1702 Robalee Street, Kingsport, TN 37665. The property to be searched is more fully described
in Attachment A and is presently in the protective custody of the United States Postal Inspection
Service Office located at 530 East Main Street in Johnson City, TN 37601.

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 8o0f9 PagelID#:9
ATTACHMENT “B”

1. Controlled substances constituting evidence of the violations of Title 21, United States
Code, Sections 841(a)(1), 843(b), and 846.

2. Items of personal property which tend to identify the person(s) in possession, control, or
ownership of the package that is the subject of the search warrant.

3. Proceeds from the sale of controlled substances held in violation of Title 21, United States
Code, Sections 841(a)(1), 843(b), and 846.

4. Information and paperwork related to the sales and distribution of controlled substances
contrary to 21 U.S.C. § 841(a)(1), including information on the uses and effects of
controlled substances; the prices for the controlled substances; the quality of the
controlled substances; information on the actual senders; and information and instructions
for ordering future controlled substances; and smaller packages addressed to secondary
addresses.

Case 2:19-mj-00210-MCLC Document 2 Filed 07/19/19 Page 9of9 PagelD #: 10
